         Case 4:17-cv-00338-BSM Document 206 Filed 05/15/19 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

 GARRY STEWART, M.D.                                                       PLAINTIFF

 v.                        CASE NO. 4:17-CV-00338-BSM

 ADVANCED MEDICAL REVIEWS, INC.; J.D.
 HAINES, M.D.; GARY GRAMM, D.O.; DAVID
 CHEN, M.D.; ANNA BELMAN, M.D.; and
 JENNIFER CROWLEY, R.N.                                                DEFENDANTS


                      DEFENDANTS’ MOTION IN LIMINE
                     RE “PUBLIC POLICY IMPLICATIONS”

        Defendants Advanced Medical Reviews, Inc., ExamWorks, Inc., J.D. Haines,

M.D., Gary Gramm, D.O., David Chen, M.D., Anna Belman, M.D., and Jennifer

Crowley, R.N. (collectively, “defendants”), for their motion in limine regarding

plaintiff’s contention that this case has public policy implications, state:

        1.   Plaintiff has indicated that he views this lawsuit as having “far-reaching

public policy implications.” (Plaintiff’s Memorandum Response to Defendants’ Motion

in Limine re Untimely Disclosed Witnesses, Dkt. No. 120, at pp. 4, 6).

        2.   Any reference to public policy importance or implications should be

excluded because it is irrelevant to plaintiff’s claims, and even if had some probative

value, its admission will confuse the jury and obfuscate the issues the jury is charged

with deciding. Fed. R. Evid. 401, 402, 403.

        3.   The fact finder in this case is charged with first deciding whether

defendants are entitled to immunity under the Health Care Quality Improvement

Act (“HCQIA”) and second, if necessary, whether defendants are liable in this matter.



1857516-v1
        Case 4:17-cv-00338-BSM Document 206 Filed 05/15/19 Page 2 of 3




The jury is not charged with determining whether an outcome in this case would have

public policy implications.

      4.     Any mention that the verdict in this case will have public policy

implications would serve no evidentiary purpose.

      5.     Plaintiff’s suggestion that this case will have public policy ramifications

is nothing more than an impermissible Golden Rule argument. Golden Rule

arguments are “universally condemned because [they] encourage[] the jury to ‘depart

from neutrality and to decide the case on the basis of personal interest and bias rather

than on the evidence.’” Lovett v. Union Pac. R. Co., 201 F.3d 1074, 1083 (8th Cir.

2000) (quoting Dole v. USA Waste Servs. Inc., 100 F.3d 1384, 1388 (8th Cir. 1996)).

      6.     Plaintiff’s statements that this case is about broad, public policy issues

reinforces fear over facts, and, at trial, such a statement could threaten to resolve

this complex litigation on matters other than the evidence presented by the parties

and the applicable law. Because the Rule 403 balancing analysis dictates that the

probative value of this is substantially outweighed by any of the dangers set forth in

the Rule, this Court should exclude the evidence from trial.

      7.     Defendants are contemporaneously filing a brief in support of this

motion that is incorporated herein by reference.

      WHEREFORE, defendants pray that their motion in limine be granted, that,

plaintiff be prevented from mentioning public policy as it relates to this case, and

for all other relief to which they are entitled.




                                            2
Case 4:17-cv-00338-BSM Document 206 Filed 05/15/19 Page 3 of 3




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